                             Case 3:20-cv-02828-WHO Document 16 Filed 05/26/20 Page 1 of 3



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                                                                     Attorneys for Plaintiff
                    10                                               Symbology Innovations, LLC
                    11

                    12                                 UNITED STATES DISTRICT COURT
                    13                              NORTHERN DISTRICT OF CALIFORNIA
                    14                                       SAN FRANCISCO DIVISION
                    15

                    16    Symbology Innovations, LLC,                      Case No. 3:20-cv-02828

                    17                          Plaintiff,                  JOINT STIPULATION AND
                                                                            [PROPOSED] ORDER TO EXTEND
                    18                     v.                               TIME FOR DEFENDANT 23ANDME,
                                                                            INC. TO ANSWER OR OTHERWISE
                    19    23andMe, Inc.,                                    RESPOND TO COMPLAINT
                    20                          Defendant.

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MORGAN, LEWIS &
 BOCKIUS LLP                                                                      JOINT STIPULATION AND [PROPOSED] ORDER TO
 ATTORNEYS AT LAW                                                                     EXTEND TIME; CASE NO. 3:20-CV-02828 WHO
  SILICON VALLEY
                         DB2/ 39031267.1
                             Case 3:20-cv-02828-WHO Document 16 Filed 05/26/20 Page 2 of 3



                     1             Plaintiff Symbology Innovations, LLC and Defendant 23andMe, Inc. (“23andMe”), by

                     2    and through their undersigned respective counsel, hereby agree and stipulate that the time for

                     3    23andMe to move, answer, or otherwise respond to the Complaint is hereby extended through and

                     4    including July 10, 2020.

                     5             The extension of time is necessary so that 23andMe has sufficient time to investigate the

                     6    allegations in the Complaint and for the parties to discuss potential resolution of this matter.

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                     8    Dated: May 26, 2020                          Respectfully submitted,

                     9
                                                                       By     /s/ Ahren C. Hsu-Hoffman
                    10                                                      Ahren C. Hsu-Hoffman, Bar No. 318434
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                    13                                                      Fax: +1.650.843.4001

                    14                                                      Attorneys for Defendant 23andMe, Inc.

                    15    Dated: May 26, 2020
                                                                       By     /s/ Howard L. Wernow
                                                                            Howard L. Wernow (pro hac vice)
                    16                                                      howard.wernow@sswip.com
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                    24                                                      Attorneys for Plaintiff Symbology Innovations,
                                                                            LLC
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MORGAN, LEWIS &
 BOCKIUS LLP                                                                            JOINT STIPULATION AND [PROPOSED] ORDER TO
 ATTORNEYS AT LAW
                                                                            1               EXTEND TIME; CASE NO. 3:20-CV-02828 WHO
  SILICON VALLEY
                         DB2/ 39031267.1
                             Case 3:20-cv-02828-WHO Document 16 Filed 05/26/20 Page 3 of 3



                     1                                         FILER’S ATTESTATION

                     2             Pursuant to L.R. 5-1(i)(3) regarding signatures, I, Ahren C. Hsu-Hoffman, attest that

                     3    concurrence in the filing of this document has been obtained from each of the other signatories.

                     4    I declare under penalty of perjury under the laws of the United States of America that the

                     5    foregoing is true and correct. Executed this 26th day of May, 2020, at Palo Alto.

                     6                                                     By: /s/ Ahren C. Hsu-Hoffman
                     7                                                          Ahren C. Hsu-Hoffman

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                                   SO ORDERED this               day of ___________, 2020.
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                    14                                                          By
                                                                                     The Honorable William H. Orrick
                    15                                                               United States District Court Judge

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MORGAN, LEWIS &
 BOCKIUS LLP                                                                              JOINT STIPULATION AND [PROPOSED]
                                                                            2
 ATTORNEYS AT LAW                                                                        ORDER TO EXTEND TIME 3:20-CV-02828
  SILICON VALLEY         DB2/ 39031267.1
